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                UNITED STATES COURT OF INTERNATIONAL TRADE



 SINCOL CORP. LTD.,

                       Plaintiff,                     Court No. 22-00153

        v.


 UNITED STATES,


                       Defendant.



                      UNOPPOSED MOTION FOR LEAVE TO FILE
                     AMENDED SUMMONS, FORM 5, AND FORM 13

       Pursuant to Rules 3(e) and 15(b), Plaintiff, Sincol Corp. Ltd., through its undersigned

attorneys, hereby moves this Court for an order granting leave to file an Amended Summons, Form

5, and Form 13 in the above-referenced action.

       Plaintiff has commenced this action pursuant to 28 U.S.C. § 1581(a) to contest the denial

of the protest listed on the Summons filed with this Court on May 16, 2022 (ECF No. 1). Plaintiff

seeks to correct the Summons, Form 5 [ECF No. 2], and Form 13 [ECF No. 3], which incorrectly

list Plaintiff as “Sincol USA, Inc.” In addition, Plaintiff is also seeking to correct the following

inadvertent errors in the original Summons: (1) the omission of a second port of entry (“Charleston,

SC (1601)”) that is applicable to the protest at issue; (2) the omission of the secondary tariff

classification (9903.88.03) under the “Assessed” column; and (3) the listing of the primary tariff

classification in the “Protest Claim” column as “3204.17.9055, 3204.17.9055, 3212.90.0050”,

instead of the correct primary tariff classifications (D3204.17.9055 and D3204.17.9086).

       Pursuant to Rule 3(e), this Court “may allow a Summons to be amended at any time on

such terms as it deems just, unless it clearly appears that material prejudice would result to the
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substantial rights of the party against whom the amendment is allowed.” Moreover, pursuant to

Rule 15(a)(2), this Court “should freely give leave” to amend pleadings “when justice so requires.”

In this case, Plaintiff listed all denied protests it is challenging in the original Summons, thus giving

Defendant notice of the protests at issue. Therefore, Defendant would not be prejudiced should the

Court grant this motion and allow the Summons, Form 5, and Form 13 to be amended to correct

the inadvertent clerical errors described above. Instead, this amendment will assist with the orderly

resolution of this case by eliminating potential confusion that could occur from the errors described

above.

         Beyond the lack of prejudice, there are no jurisdictional concerns related to the proposed

amendment of the Summons. Since Plaintiff listed all contested protests in the original Summons

and commenced this action within 180 days of the protest denials, this Court has jurisdiction over

all of listed protests. See 28 U.S.C. § 1581(a); 28 U.S.C. § 2632(b); 28 U.S.C. § 2636(b). This

Court has made it clear that, “[a]s long as the protests were included in some way, jurisdiction will

attach to every entry listed in the protest itself.” DaimlerChrysler Corp. v. United States, 350 F.

Supp. 2d. 1339, 1341 (Ct. Int’l Trade 2004) aff’d, 442 F.3d 1313 (Fed. Cir. 2006) (citing Pollak

Import-Export Corp. v. United States, 52 F.3d 303, 308 (Fed. Cir. 1995)).

         For the reasons above, we respectfully assert that the proposed amendments to the

Summons, Form 5, and Form 13, attached hereto as Exhibits A, B, and C, respectively, are just

and will facilitate the further judicial review of this action without prejudice to Defendant.1

         Plaintiff consulted with counsel for Defendant, Elisa S. Soloman, of the U.S. Department

of Justice, who consented to this motion on August 6, 2022.



1
  In accordance with Administrative Order 02-01, paragraph 4(d)(i), also attached hereto is an errata sheet that
includes “a list of each amendment or correction including the page number for each amendment or correction”
(Exhibit D); and “an amended or corrected version of the document[s] showing the additions, deletions, and any
other changes in a ‘redline and strikeout’” (Exhibit E).
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      WHEREFORE, Plaintiff respectfully requests that this motion be granted and this Court

enter the proposed Amended Summons, Form 5, and Form 13 in this action.


                                         Respectfully submitted,

                                         FAEGRE DRINKER BIDDLE & REATH LLP
                                         Attorneys for Plaintiff
                                         Sincol Corp. Ltd.
                                         320 S. Canal Street
                                         Suite 3300
                                         Chicago, IL 60606
                                         Telephone: (312) 569-1000

                                         By: /s/ William R. Rucker


Dated: August 8, 2022
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                               CERTIFICATE OF SERVICE

       William R. Rucker certifies that he is an attorney with the law firm of Faegre Drinker

Biddle & Reath LLP, with offices located at 320 S. Canal Street, Suite 3300, Chicago, IL 60606,

and that on August 8, 2022 on behalf of the Plaintiff herein, he served the attached Motion for

Leave to File an Amended Summons, Form 5, and Form 13 on:

Elisa S. Solomon
U.S. Department of Justice
Commercial Litigation Branch, Civil Division
26 Federal Plaza
Room 346
New York, NY 10278
Email: elisa.s.solomon@usdoj.gov

the attorney for the Defendant herein, by electronic service in the CM/ECF System of the Court

of International Trade.



                                            /s/ William R. Rucker
